Case 2:05-cr-20077-.]Pl\/| Document 59 Filed 08/01/05 Page 1 of 2 PagelD 64

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FOFi THE WESTERN DisTRicT OF TENNESSEE 515 ping -i Pi~t i2: 3“§
WESTERN DlvlleN '

 

 

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Plaimirf,

VS.
CFl. NO. 05-20077-B

GREG LONG,
CAFiOLYN KiRK-W|GGLEY,
VERONDA JACKSON,

Defendants.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PER!OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on duly 25, 2005. At that time, counsel for the
defendant requested a continuance of the August 1, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to September 6, 2005 with a
report date of Monday, August 29. 2005, at 9:30 a.m., in Courtroom 1. 11th Floor of the
Federal Bui|ding, Nlemphis, TN.

The period from August 12, 2005 through September 16, 2005 is excludable under
18 U.S.C. § 3161(h)(8)(l3)(iv) because the ends ot justice served in allowing for additional

time to prepare outweigh the need forr1 a spe dy trial.
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UNITED s`T"RATEDIsTIC COURT - WESTERN D's'TRCT OFTENNESSEE

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This notice confirms a copy of the document docketed as number 59 in
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August 2, 2005 to the parties listed.

 

 

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Honorable .1. Breen
US DISTRICT COURT

